    TRANSCRIPTCase
              ORDER
                Case  FORM  (DKT-13) - READ
                   4:22-cr-00108-DC
                      4:22-cr-00108-DC      INSTRUCTIONS
                                        Document
                                         Document     FiledON
                                                 7777 Filed     LAST PAGE
                                                            10/31/2022
                                                             10/31/22 PageBEFORE
                                                                           1 of11of 1COMPLETING
                                                                        Page

District Court __________________________________________
               Western District of Texas (Pecos Division) District Court Docket No.____________________________________
                                                                                   4:22-CR-108-DC-1

Short Case Title ____________________________________________________________________________________________________
                 USA v. Flores

ONLY ONE COURT REPORTER PER FORM Court Reporter _____________________________________________________
                                                FTR

Date Notice of Appeal Filed in the District Court ________________________
                                                  10/12/2022               Court of Appeals No. _________________________
                                                                                                22-50910

PART I. (To be completed by party ordering transcript. Do not complete this form unless financial arrangements have been made, see
instructions on page 2.)
A. Complete the Following:
☐No hearings ☐Transcript is unnecessary for appeal purposes ☐Transcript is already on file in the Clerk’s Office
 OR
 Check all of the following that apply, include date of the proceeding.
 This is to order a transcript of the following proceedings: ☐Bail Hearing _________________
                                                                           2/23/22 & 2/25/22    ☐Voir Dire ________________
                                                                                                           6/21/22
☐Opening Statement of Plaintiff ________________ ☐Opening Statement of Defendant _________________
                                    6/21/22                                                6/21/22
☐Closing Argument of Plaintiff ________________
                                   6/22/22            ☐Closing Argument of Defendant:________________
                                                                                        6/22/22
☐Opinion of court _________________
                    6/22/22                ☐Jury Instructions ________________
                                                              6/22/22          ☐Sentencing ________________
Other proceedings not listed above:
 Hearing Date(s) Proceeding                                                            Judge/Magistrate




Failure to specify in adequate detail those proceedings to be transcribed, or failure to make prompt satisfactory
financial arrangements for transcript, are grounds for DISMISSAL OF APPEAL.
B. This is to certify satisfactory financial arrangements have been made. Method of Payment:
☐Private Funds; ☐Criminal Justice Act Funds (Enter Authorization-24 via eVoucher);
☐Other IFP Funds; ☐Advance Payment Waived by Reporter; ☐U.S. Government Funds
☐Other____________________________________________________________________________________________________________

            /s/ Shane O'Neal
Signature_________________________________________________________ Date Transcript Ordered__________________________
                                                                                          10/31/22

Print Name_______________________________________________________
          Shane O'Neal                                            Phone ___________________________________________
                                                                        (713) 516-3505

Counsel for_________________________________________________________________________________________________________
           Hector Flores, Jr.,

Address____________________________________________________________________________________________________________
       101 E. Avenue B., Alpine, Texas 79830

Email of Attorney: _________________________________________________________________________________________________
                   shane@shaneoneallaw.com
PART II. COURT REPORTER ACKNOWLEDGMENT (To be completed by the court reporter and filed with the Court of
Appeals within 10 days after receipt. Read instructions on page 2 before completing.)
 Date Transcript Order        Date Satisfactory Arrangements        Estimated Completion Date Estimated Number of
 Received                     for Payment were Made                                           Pages

Payment arrangements have NOT been made or are incomplete.
Reason: ☐Deposit not received ☐Unable to contact ordering party ☐Awaiting creation of CJA 24 eVoucher
                ☐Other (Specify) _____________________________________________________________________________________

Date ____________________ Signature of Reporter ____________________________________________Tel._____________________
Email of Reporter _________________________________________________________________________________________________
Part III. NOTIFICATION THAT TRANSCRIPT HAS BEEN FILED IN THE DISTRICT COURT (To be completed by
court reporter on date of filing transcript in the District Court. This completed form is to be-filed with the Court of Appeals.)

        This is to certify that the transcript has been completed and filed at the District Court today.

        Actual Number of Pages ___________________________                Actual Number of Volumes________________________

Date ___________________________ Signature of Reporter ____________________________________________________________
